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 5
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 6 United States of America

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             CASE NO. 1:11-CR-00357-AWI-BAM
11                                 Plaintiff,              STIPULATION REGARDING
                                                           SETTING FOR CHANGE OF PLEA
12   v.                                                    AND VACATING TRIAL DATE;
                                                           ORDER
13   RENEY BOUSANGOUANE,
14
                                   Defendant.
15

16                                              STIPULATION
17          Plaintiff United States of America, by and through its counsel of record, and defendant, by
18 and through his counsel of record, hereby stipulate as follows:

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            1.     By previous order, this matter was set for trial confirmation on September 16 and trial
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                   on October 8, 2013. The parties have reached a plea agreement and would request
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                   converting the trial confirmation hearing to a change of plea hearing on September 16
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23                 at 10 a.m..

24          2.     The parties stipulate to vacating the trial date of October 8.

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                           Case 1:11-cr-00357-AWI-BAM Document 56 Filed 08/26/13 Page 2 of 2


                           IT IS SO STIPULATED.
 1

 2 DATED:                        August 21, 2013.   Respectfully submitted,
 3                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
 4
                                                    /s/ Karen A. Escobar___________________
 5                                                  KAREN A. ESCOBAR
                                                    Assistant United States Attorney
 6
     DATED:                      August 21, 2013.
 7

 8                                                  /s/ Carol Moses _____________
                                                    CAROL MOSES
 9                                                  Counsel for Defendant Reney Bousangouane
10

11                                                         ORDER
12

13 IT IS SO ORDERED.

14
     Dated: August 26, 2013
15   DEAC_Signature-END:
                                                          SENIOR DISTRICT JUDGE

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